      Case 4:09-cr-00064-SWW   Document 26    Filed 09/01/09   Page 1 of 1




             IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                     NO. 4:09CR00064 SWW

CARLES DENNIS




                           ORDER OF DISMISSAL


      Pending before the Court is government's motion for dismissal of the

indictment against defendant, Carles Dennis, pursuant to Rule 48(a) of

the Federal Rules of Criminal Procedure.

      IT IS ORDERED that the government’s motion [doc #23] for dismissal

of the indictment against the above-named defendant be granted, and the

indictment pending against separate defendant Carles Dennis in the above-

styled case is dismissed without prejudice.

      DATED this 1st day of September 2009.



                                        /s/Susan Webber Wright
                                        UNITED STATES DISTRICT JUDGE
